Case 2:91-cv-00589-CJC Document 677-23 Filed 07/10/20 Page 1 of 4 Page ID #:6782




                            EXHIBIT 52




                                     Exhibit 52
                                       6739
Case 2:91-cv-00589-CJC Document 677-23 Filed 07/10/20 Page 2 of 4 Page ID #:6783
                                                                     SFUND RECORDS CTR
                                                                         1654-92434

                 UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                     REGION IX

                                75 Hawthorne Street
                              San Francisco, Ca. 94105

                                                                  SFUND RECORDS CTR
                                                                     88108462
                                                  July 25, 1991

 Mr. William Duchie
 McColl Site Group
 c/o Shell Oil Company
 511 N. Brookhurst Street
 Anaheim, CA 92803
 Dear Bill:
      Enclosed are some cost estimates that we have developed for
 off-site incineration of the McColl waste. These estimates
 consider total waste excavation, on-site storage, tarry waste
 treatment, off-site transport, and off-site incineration for two
 potential treatment facilities:
 1) the Rollins Environmental Services, Deer Park, Texas facility
 and 2) the Chem Waste Management Kettleman Hills facility.
      It should be noted that the Deer Park facility is the
 closest operating commercial incinerator of sufficient size that
 could handle the volume of McColl wastes. Chemical Waste
 Management has applied for permits to construct a commercial
 hazardous waste incinerator at Kettleman Hills. The construction
 of this facility has not been approved to date; however, Chemical
 Waste Management, Inc. has indicated that an operational
 incinerator at Kettleman Hills is anticipated by the first
 quarter of 1993, and that the project is on tract and that the
 incinerator "in all likelihood will be built." For this reason,
 cost estimates were developed for the Kettleman Hills facility,
 assuming the incinerator will be on line in 1993.
      Some simple assumptions were made to allow the cost
 estimation to occur. The assumptions are as follows:
       1) Rotary kiln incineration was chosen as the
          representative technology type
       2) Excavation under an enclosure would occur as detailed
          in the SITE applications analysis report
       3) Both the tar and char would need to be pretreated
          on-site prior to shipment off-site
       4) The waste material would be shipped off-site via trucks

                                                                  Printed on Recycled Paper


                                     Exhibit 52
                                       6740
Case 2:91-cv-00589-CJC Document 677-23 Filed 07/10/20 Page 3 of 4 Page ID #:6784



          5) Ash disposal would be undertaken by incineration company
          6) Incineration capacity is nominally 100 tons/day
          7) Rollins Environmental Services facility in Deer Park,
             Texas was identified as the closest operating permitted
             unit
          8) Chemical Waste Management facility in Kettleman Hills was
             identified as the most likely future operating unit in
             California
          9) Bid and scope contingencies were estimated at 12%
       10) Costs were assumed to escalate at 5% per year
       11) Incineration costs are estimated at 60 cents/lb
       Based on the above assumptions, the costs (in millions) for
  the two facilities are as follows:

                         DEER PARK,TX                  KETTLEMAN HILLS, CA

  EXCAVATION AND
  STORAGE                      62                                  62

  TAR TREATMENT                 5                                   5

  CHAR TREATMENT               16                                  16

  TRANSPORTATION               85                                  12

  INCINERATION AND
  ASH DISPOSAL                392                                 392



  TOTAL                     $ 560                             $ 487
  CONTINGENCIES                67                                 58

  TOTAL PLUS
  CONTINGENCIES               627                             $   545
  TOTAL COST WITH
  5% PER YEAR
  ESCALATION                  800                             $ 696
  REMEDIAL                6 years                           6 years
  OPERATIONS       (based on 100 tons/day)        (based on 100 tons/day)
  TIMEFRAME




                                     Exhibit 52
                                       6741
Case 2:91-cv-00589-CJC Document 677-23 Filed 07/10/20 Page 4 of 4 Page ID #:6785




       If you have any questions or would like to discuss this in
  further, please let me know and we can discuss at our August 6th
  meeting.
                                           Sincerely,



                                           Pam Wieman, Project Manager
                                           McColl Superfund Site
  cc:   D.   Jones, EPA
        J.   Blevins, EPA
        S.   Linder, EPA
        C.   Rudolph, DHS




                                     Exhibit 52
                                       6742
